Case 1:01-cv-12257-PBS—Decument 7407-4--Filed- 05/4 2/10--Page 4-0f 5+.

UNITED STATES DISTRICT COURT
DISTRICT OF MASSACHUSETTS

UNITED STATES OF AMERICA
Ex. rel.
VEN-A-CARE OF THE FLORIDA MDL NO. 1456
KEYS, INC., a Florida corporation,
by and through its principal officers Master File No. 01-12257-PBS
and directors, ZACHARY T.
BENTLEY and T. MARK JONES, Subcategory No. 06-11337-PBS
Civil Action No. 08-cv-10852
Plaintiff,
Judge Patti B. Saris
ACTAVIS MID ATLANTIC LLC, et al.
Defendants

CERTIFICATE OF PAUL K. DUEFFERT, ESQ.

I, Paul K. Dueffert, in accordance with Rule 83.5.3 of the Local Rules of the United
States District Court for the District of Massachusetts, represent and certify as follows:

1. I am a member in good standing of the Bars of the District of Columbia,
Minnesota, Missouri and Pennsylvania.

2. I am familiar with the facts surrounding this dispute and the Local Rules of the
United States District Court for the District of Massachusetts.

3. There are no disciplinary proceedings pending against me as a member of the bar

-——in-any jurisdiction ~

Signed under the pains and penalties of perjury, this 3rd day of May, 2010.

V2 OQ —

Paul K. Dueffert, Esq.

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Ristrict of Columbia Court of Appeals
Committee on Admissions

430 £ Street, NW. — Room 123
Washington, B.C. 20001

202 / 879-2710

I, GARLAND PINKSTON, JR., Clerk of the District of Columbia
Court of Appeals, do hereby certify that

PAUL K. DUEFFERT

was on the 7 day of DECEMBER, 1992,
duly qualified and admitted as an attorney and counselor and
entitled to practice before this Court and is, on the date

indicated below, an active member in good standing of this Bar.

In Testimony Whereof, I have
hereunto subscribéd my name
and affixed the seal of this
Court at the City of
Washington, D.C., on April
28, 2010.

GARLAND PINKSTON, JR., CLERK

By: 0? ken—

Deputy Clerk

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STATE OF MINNESOTA
IN SUPREME COURT

Certificate of Good Standing

This is to certify that the following lawyer is in good standing.

PAUL K DUEFFERT

was duly admitted to practice as a lawyer and counselor at law in

December 05, 1988

, Given under my hand and seal of this court on

April 23, 2010

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Frederic
Clerk of

k K. Grittner
Appellate Courts

Case 1:01-cv-12257-PBS Document 7107-1 Filed 05/12/10 . -Page4-ef5———...

The Supreme Court of Missouri

Certificate of Admission as an
Attorney at Law

I, Thomas F. Simon, Clerk of the Supreme Court of Missouri, do hereby certify that the

records of this office show that on October 13, 1989,

Paul K, Dueffert

was duly admitted and licensed to practice as an Attorney and Counselor at Law in the Supreme
Court of Missouri and all courts of record in this state, and is, on the date indicated below, a

member in good standing of this Bar.

IN TESTIMONY WHEREOPF, I hereunto set my
hand and affix the seal of the Supreme Court of Missouri at
my office in Jefferson City, Missouri, this 23rd. day of
April, 2010.

Clerk of the Supreme Court of Missouri
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ATTORNEY REGISTRATION OFFICE

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PO Box 62625
Harrisburg, PA 17106-2625

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CERTIFICATION OF INACTIVE STATUS
In lieu of Certificate of Good Standing

For

PAUL K. DUEFFERT
PA Bar Number 61720

I, Suzanne E. Price, as the Attorney Registrar for the Disciplinary
Board of the Supreme Court of Pennsylvania, hereby confirm that Paul
K. Dueffert was admitted as an Attorney by the Supreme Court of
Pennsylvania to the bar of the courts of the Commonwealth of
Pennsylvania on July 1, 1991.

Mr. Dueffert is currently registered as “Voluntarily Inactive”,
having assumed said status as of July 1, 2002.

Dated this 27" day of April, 2010

By: Ass £ fh,

‘Shzanne E. Price
Attorney Registrar

